           Case 7:19-cv-10576-PED Document 87 Filed 07/15/22 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------x
LAKEISHA WALKER and OTTE ARMSTRONG,

                                            Plaintiffs,
                                                                             No. 19-CV-10576 (CS)
                 – against –
                                                                                   ORDER
D. JAKASAL, Individually, E.M. OLSON, Individually, D.A.
VALENTINE, Individually, D.P. OMALLEY, Individually, I.
YUAN, Individually, M.T. PACINO, Individually,

                                             Defendants.
-------------------------------------------------------------------------x

        For the reasons stated on the record on June 16, 2022, (see Minute Entry dated June 16,

2022), Defendants’ Motion for Summary Judgment, (ECF No. 49), is GRANTED as to the state-

law malicious prosecution claim only and DENIED as to all other claims.

SO ORDERED.

Dated: July 15, 2022
       White Plains, New York

                                                              ________________________________
                                                                    CATHY SEIBEL, U.S.D.J.
